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                                                   Case No. 24-7700

                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

                                                   J. DOE, 1; J. DOE, 2-5,
                                  individually and on behalf of all others similarly situated,
                                                    Plaintiffs-Appellants,
                                                               v.
                         GITHUB, INC., a Delaware corporation; MICROSOFT CORPORATION,
                a Washington corporation; OPENAI, INC., a Delaware nonprofit corporation; OPENAI, LP,
                 a Delaware limited partnership; OPENAI GP, LLC, a Delaware limited liability company;
                       OPENAI STARTUP FUND GP I, LLC, a Delaware limited liability company;
                              OPENAI STARTUP FUND I, LP, a Delaware limited partnership;
                           OPENAI STARTUP FUND MANAGEMENT, LLC, a Delaware limited
                   liability company; OPENAI OPCO, LLC; OPENAI, LLC; OPENAI GLOBAL, LLC;
                      OAI CORPORATION; OPENAI HOLDINGS, LLC; OPENAI HOLDCO, LLC;
                              OPENAI INVESTMENT; OPENAI STARTUP FUND SPV I, LP;
                                       OPENAI STARTUP FUND SPV GP I, LLC,
                                                  Defendants-Appellees.
                                         _______________________________________
               On Appeal from the United States District Court for the Northern District of California (Oakland),
                          Case No. 4:22-cv-06823-JST • The Honorable Jon S. Tigar, District Judge

                MEMORANDUM OF LAW OF AMICI CURIAE THE AUTHORS GUILD, INC.;
             THE ASSOCIATION OF AMERICAN PUBLISHERS; THE NEWS/MEDIA ALLIANCE;
              AND THE INTERNATIONAL ASSOCIATION OF SCIENTIFIC, TECHNICAL AND
                  MEDICAL PUBLISHERS IN SUPPORT OF PLAINTIFFS-APPELLANTS

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                                   UNITED STATES COURT OF APPEALS
                                        FOR THE NINTH CIRCUIT

                 Form 34. Disclosure Statement under FRAP 26.1 and Circuit Rule 26.1-1

                   Instructions for this form: http://www.ca9.uscourts.gov/forms/form34instructions.pdf

                                       24-7700
             9th Cir. Case Number(s) _____________________________________________

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                                      PRELIMINARY STATEMENT1

                    The Authors Guild, Inc., the Association of American Publishers, the

             News/Media Alliance, and the International Association of Scientific, Technical and

             Medical Publishers (collectively, “Amici”) respectfully submit this Memorandum of

             Law in Support of Plaintiffs-Appellants J. Doe 1, et al.          The District Court

             erroneously imposed an identicality requirement under 17 U.S.C. §§ 1202(b)(1) and

             1202(b)(3) that contradicts the plain language and express Congressional purpose of

             the statute, and would undermine the United States’ implementation of two

             international treaties. Accordingly, the District Court’s dismissal of Appellants’ 17

             U.S.C. § 1202(b) claims should be reversed, and its certified question should be

             answered in the negative as a matter of law.

                           STATEMENT OF INTEREST OF AMICI CURIAE

                    Amici are all organizations that represent the professional interests of writers

             and other creators of copyrighted works. The identity and interests of each of Amici

             are set forth in the attached Appendix.




             1
               Neither the parties nor their counsel have authored this brief, and neither they nor
             any other person or entity other than counsel for amici curiae contributed money
             that was intended to fund preparing or submitting this brief.
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                                       SUMMARY OF ARGUMENT

                    The controlling question of law identified in the District Court’s decision

             granting leave for interlocutory appeal was “whether Sections 1202(b)(1) and

             1202(b)(3) of the DMCA impose an identicality requirement.” Order at *1-*2. That

             question should be answered in the negative, and, accordingly, the District Court’s

             dismissal of Appellants’ claims under 17 U.S.C. §§ 1202(b)(1) and 1202(b)(3)

             (“Section 1202”) should be reversed.           Defendants-Appellees engaged in

             unauthorized deletions and alterations of copyright management information

             (“CMI”) in connection with Appellants’ copyrighted works on a massive scale. The

             District Court dismissed Appellants’ claims on the grounds that the copies of works

             distributed by Appellees were not identical to Appellants’ original CMI-bearing

             works.

                    There is no support in the statute for imposing such a condition on the

             protections Congress created for copyright owners under the DMCA. Many of the

             cases relied on by Defendants-Appellees do not in fact support the imposition of an

             identicality requirement. Moreover, the practical effect of such a requirement would

             thwart Congress’s clear intent in adopting Section 1202. This is particularly true in

             the context of textual works, which are uniquely susceptible to piracy involving the

             dissemination of incomplete or altered copies. Authors and publishers rely on CMI

             to protect their works and investments, provide attributions, and to let would-be



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             users know how to obtain permission. Accurate and unaltered content provenance

             information facilitates online access to works, rights management, and the

             development of healthy licensing markets. A rule requiring identicality between the

             original and infringing copies would render the statute effectively toothless as a tool

             to prevent removal or alteration of this information, since liability could be evaded

             by making immaterial changes to a copyrighted work.

                                                ARGUMENT

                    The District Court acknowledged that the requirement of identicality under 17

             U.S.C. § 1202(b) is an issue of first impression in the Ninth Circuit. While

             concluding that there is substantial ground for disagreement on the question between

             district courts, the District Court did not purport to survey the relevant caselaw but

             concluded that a substantial ground for disagreement exists. In the District Court’s

             words, “one of the best indications that there are substantial grounds for

             disagreement on a question of law is that other courts have, in fact, disagreed.”

             Order at *2.

                    Amici respectfully note that the decisions cited by the District Court in favor

             of imposing an identicality requirement under § 1202 represent a minority view,

             even among the small number of authorities cited in the decision below. And, as

             Amici seek to show in this brief, this minority view is poorly reasoned and cannot be




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             reconciled with the plain language of the statute or its purpose of protecting authors’

             works in the digital environment.

             I.     17 U.S.C. §§ 1202(B)(1) AND 1202(B)(3)
                    DO NOT IMPOSE AN IDENTICALITY REQUIREMENT.

                            An identicality requirement contradicts the plain meaning of the
                            statute.

                    The Copyright Act defines CMI as “information conveyed in connection with

             copies or phonorecords of a work or performances or displays of a work, including

             in digital form,” e.g., the “title and other information identifying the work” and “the

             name of, and other identifying information about, the author of the work.” See 17

             U.S.C. § 1202(c).2


             2
                The full statutory definition reads as follows: “‘copyright management
             information’ means any of the following information conveyed in connection with
             copies or phonorecords of a work or performances or displays of a work, including
             in digital form, except that such term does not include any personally identifying
             information about a user of a work or of a copy, phonorecord, performance, or
             display of a work: (1) The title and other information identifying the work, including
             the information set forth on a notice of copyright. (2) The name of, and other
             identifying information about, the author of a work. (3) The name of, and other
             identifying information about, the copyright owner of the work, including the
             information set forth in a notice of copyright. (4) With the exception of public
             performances of works by radio and television broadcast stations, the name of, and
             other identifying information about, a performer whose performance is fixed in a
             work other than an audiovisual work. (5) With the exception of public performances
             of works by radio and television broadcast stations, in the case of an audiovisual
             work, the name of, and other identifying information about, a writer, performer, or
             director who is credited in the audiovisual work. (6) Terms and conditions for use of
             the work. (7) Identifying numbers or symbols referring to such information or links
             to such information.” 17 U.S.C. § 1202(c).


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                    The substantive provisions relevant here, 17 U.S.C. § 1202(b)(1) and 17

             U.S.C. § 1202(b)(3), prohibit certain conduct with respect to uses of a copyright

             owner’s works:

                    No person shall, without the authority of the copyright owner or the law—

                    (1) intentionally remove or alter any copyright management information,
                                                           …
                    (3) distribute, import for distribution, or publicly perform works, copies of
                        works, or phonorecords, knowing that copyright management
                        information has been removed or altered without authority of the copyright
                        owner or the law,

                            knowing, or, with respect to civil remedies under section 1203, having
                            reasonable grounds to know, that it will induce, enable, facilitate, or
                            conceal an infringement of any right under this title.

                    The plain language of these provisions cannot be reconciled with the

             erroneous position taken by Defendants-Appellees before the District Court, i.e., that

             the removal or alteration of CMI (under § 1202(b)(1)), or the distribution,

             importation or public performance with requisite knowledge of removal or alteration

             of CMI (under § 1202(b)(3)) is not actionable unless the work or copy from which

             the CMI has been removed or altered is an otherwise-identical copy of the authorized

             copy that carried the proper CMI.

                    As the Supreme Court has frequently held, “Congress’ intent is found in the

             words it has chosen to use.” See, e.g., West Virginia Univ. Hospitals, Inc. v.

             Casey, 499 U.S. 83, 98 (1991) (“The best evidence of [Congress'] purpose is the

             statutory text adopted by both Houses of Congress and submitted to the President.”).

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             Simply put, “our task is to apply the text, not to improve upon it.” Pavelic & LeFlore

             v. Marvel Entertainment Group, Div. of Cadence Industries Corp., 493 U.S. 120,

             126 (1989).

                    When enacting § 1202(b)(1) and § 1202(b)(3), Congress chose not to impose

             an identicality requirement. There is no reference to such a requirement in the statute

             or accompanying legislative reports. To the contrary, § 1202(b)(3) imposes a

             knowledge requirement that speaks to “an infringement of any right under this title.”

             The reference to rights under “this title,” of course, includes the right to prepare

             derivative works under § 106(2) (right “to prepare derivative works based upon the

             copyrighted work”). By definition, derivative works are not identical to the works

             upon which they are based.3

                    Further, it is well-established that references to “copies” in the Copyright Act,

             including in Section 1202, encompass more than exact, verbatim copies. The

             copyright owner has the exclusive right to “reproduce the copyrighted work in



             3
              17 U.S.C. § 101: “A ‘derivative work’ is a work based upon one or more preexisting
             works, such as a translation, musical arrangement, dramatization, fictionalization,
             motion picture version, sound recording, art reproduction, abridgment,
             condensation, or any other form in which a work may be recast, transformed, or
             adapted. A work consisting of editorial revisions, annotations, elaborations, or other
             modifications which, as a whole, represent an original work of authorship, is a
             ‘derivative work’.” It is black-letter copyright law that “if the right to make
             derivative works . . . has been infringed then there has necessarily also been a
             violation of the reproduction or performance rights.” 2 Nimmer on Copyright, §
             8.09[A].

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             copies.” 17 U.S.C. § 106(2). Infringement of that right is not limited to situations

             in which a user creates an identical copy of the original work. Rather, it is

             fundamental that infringement can be established through a showing that (as relevant

             here) the secondary work is substantially similar to the original. See, e.g., Funky

             Films, Inc. v. Time Warner Entm’t Co., Ltd. P’ship, 462 F.3d 1072, 1076 (9th Cir.

             2006) (“Absent evidence of direct copying, proof of infringement involves fact-

             based showings that the defendant had ‘access’ to the plaintiff’s work and that the

             two works are ‘substantially similar.’” (internal quotation marks omitted)). That

             showing does not require identicality. See, e.g., Hunley v. Instagram, LLC, 73 F.4th

             1060, 1068 (9th Cir. 2023) (“For copyright purposes, ‘copy’ does not necessarily

             mean a duplicate of the original, but includes the original itself.”); Universal

             Pictures Co., Inc., v. Harold Lloyd Corp., 162 F.2d 354, 360 (9th Cir. 1947)

             (“Complete or substantial identity between the original and the copy is not required.

             Copying and infringement may exist, although the work of the pirate is so cleverly

             done that no identity of language can be found in the two works.”); Sheldon v. Metro-

             Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir. 1936) (“[N]o plagiarist can excuse

             the wrong by showing how much of his work he did not pirate.”); 3 William F. Patry,

             Patry on Copyright § 9.59 (2025) (“Copying need not be verbatim [to constitute

             infringement].”). There is no indication that Congress intended the term “copies” as




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             used in section 1202 to have a different, more restrictive meaning than it has

             throughout the rest of the Copyright Act.

                    For these reasons, the District Court’s interpretation of Sections 1202(b)(1)

             and 1202(b)(3) would require adding language to the statute beyond that which

             Congress chose to include. It is axiomatic that courts are no more at liberty to add

             an “absent word” to a statute than they are to render any of its terms mere surplusage.

             See, e.g., Nichols v. United States, 578 U.S. 104, 110 (2016) (“[W]hat the

             government asks is not a construction of a statute, but, in effect, an enlargement of

             it by the court, so that what was omitted, presumably by inadvertence, may be

             included within its scope. To supply omissions transcends the judicial function.”),

             quoting Iselin v. United States, 270 U.S. 245, 250-251 (1926). Here, the District

             Court’s ruling improperly gives credence to perceived “omissions” in the statute by

             adding a substantive condition to the exercise of an author’s right to ensure that any

             attribution and copyright management information included with the work is

             maintained. See also Lamie v. U.S. Tr., 540 U.S. 526, 538 (2004) (“[T]here is a

             basic difference between filling a gap left by Congress’ silence and rewriting rules

             that Congress has affirmatively and specifically enacted.”).

                    Here, in accepting Defendants-Appellees’ position and dismissing

             Appellants’ claims, the District Court effectively altered the phrase “induce, enable,

             facilitate, or conceal an infringement of any right under this title” (emphasis added)



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             in § 1202(b)(3) to read “induce, enable, facilitate, or conceal an identical

             infringement of the reproduction right under this title.” That is not how the statute

             reads, and the imposition of such a limitation would amount to a policy judgment

             that is not for the courts to make. U.S. v. Locke, 471 U.S. 84, 93 (1985) (“[T]he

             plain language of the statute simply cannot sustain the gloss appellees would put on

             it.... a literal reading of Congress’ words is generally the only proper reading of those

             words.”) (emphasis added).

                    Such a significant condition, which would deprive large numbers of authors

             of the protections Congress expressly gave them under § 1202(b), simply cannot be

             read into the statute by implication, when Congress gave no indication of imposing

             it and the language Congress did actually use does not require it. See Whitman v.

             Am. Trucking Ass’ns, Inc., 531 U.S. 457, 468 (2001) (“Congress . . . does not alter

             the fundamental details of a regulatory scheme in vague terms or ancillary

             provisions—it does not . . . hide elephants in mouseholes.”).            See also Life

             Receivables Trust v. Syndicate 102 at Lloyd’s of London, 549 F.3d 210, 216 (2d Cir.

             2008):

                    [W]e must interpret a statute as it is, not as it might be, since “courts must
                    presume that a legislature says in a statute what it means and means in a statute
                    what it says....” Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253–54 (1992).
                    A statute’s clear language does not morph into something more just because
                    courts think it makes sense for it to do so.4

             4
              Quoted in Obsidian Finance Group, LLC v. Cox, 2012 WL 1065484, at *13 (D.
             Or. Mar. 27, 2012).

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                            An identicality requirement frustrates the objectives of the
                            DMCA and the WCT/WPPT treaties.

                    The District Court’s opinion also is at odds with Congress’s manifest intent in

             enacting Section 1202. Far from intending to provide only a sliver of protection to

             copyright owners seeking to control their protected works in a digital environment,

             the legislative history shows that Congress intended Section 1202 as a broad tool to

             help maintain authoritative CMI to deter infringements more generally. As the

             House Judiciary Committee noted, “the digital environment poses a unique threat to

             the rights of copyright owners,” and one impetus of the DMCA was to encourage

             copyright owners to make their works available digitally. H.R. Rep., No. 105-551,

             pt. 2, at 25 (1998). As part of that, “[CMI] is an important element in establishing an

             efficient Internet marketplace in copyrighted works free from governmental

             regulation. Such information will assist in tracking and monitoring uses of

             copyrighted works, as well as licensing of rights and indicating attribution, creation

             and ownership.” S. Rep., No. 105-190, at 16 (1998).

                    This approach is most consistent with U.S. treaty obligations. The DMCA was

             notably adopted to implement the World Intellectual Property Organization

             (“WIPO”) Copyright Treaty and the Performances and Phonograms Treaty (“WCT”

             and “WPPT”), which include protections for rights management information

             (“RMI”), codified in Section 1202 as copyright management information. See, e.g.,

             H.R. Rep., No. 105-551, pt. 2, at 25 (1998). As WIPO explains:

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                    In order to function with the ease and speed that are the hallmarks of well
                    functioning digital networks, it is important that whenever a work or an object
                    of related rights is requested and transmitted over the network, the fact of the
                    use is registered together with all the information necessary to ensure that the
                    agreed payment can be transferred to the appropriate right owner(s). Various
                    technologies in this respect are available or being developed which will enable
                    the necessary feedback to the right owners. It is crucial, however, that such
                    information is not removed or distorted, because the remuneration of the right
                    owners would in that case not be paid at all, or it would be diverted. From a
                    practical point of view, this would be as prejudicial to the interests of the right
                    owners as an outright infringement of the rights.5

                    Accordingly, treaty provisions related to rights management information “are

             intended to ensure that rightholders can effectively use technology to protect their

             rights and to license their works online."6 See also Jhonny Antonio Cadavid, The

             Origin and Purpose of Legal Protection for the Integrity of Copyright Metadata, 54

             INT’L REV. OF INTELL. PROP. & COMPETITION L. 1179, 1998-99 (2023) (“The

             protection of RMI was to be thought of as a measure to promote the creation of

             copyright metadata infrastructures and DRM systems. Copyright metadata

             interoperability would allow online access to be maximised, and provide for royalty




             5
               WIPO-MOST Intermediate Training Course on Practical Intellectual Property
             Issues in Business, November 6, 2003, https://www.wipo.int/edocs/mdocs/sme/en/
             wipo_ip_bis_ge_03/wipo_ip_bis_ge_03_4-main1.pdf, pp. 3-4 (last accessed April
             3, 2025).
             6
               The Advantages of Adherence to the WIPO Copyright Treaty (WCT) and the
             WIPO Performances and Phonograms Treaty (WPPT), INTERNATIONAL BUREAU
             OF WIPO, https://www.wipo.int/export/sites/www/copyright/en/docs/advantages_
             wct_wppt.pdf, pp. 3 (last accessed April 3, 2025).

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             management, digital rights management, licensing, rights clearance, and information

             retrieval.”).

                    These considerations remain pressing given the rapid proliferation of

             generative artificial intelligence (AI) models and applications. These technologies

             often rely on copyrighted content for training and real-time retrieval purposes, and

             metadata can help effectuate emerging licensing systems and serve as indicators of

             authority and provenance. CMI can play an important role in facilitating efficient

             licensing markets, providing information about content origin and ownership and

             making it easier to detect infringing uses. Because licensed uses and infringing uses

             may include derivative works and other non-identical copies, e.g., including

             stripping metadata for the purpose of creating non-identical copies, the imposition

             of an identicality requirement would reduce the scope of the protection the treaties

             and the DMCA were intended to codify.

                    To summarize, the plain statutory language, and the express purpose of

             Congress to protect authors against the unattributed (or misattributed) exploitation

             of their works in the digital environment, combined with this Court’s proper

             deference to the legislative branch and the enacted text in matters of statutory

             interpretation, overwhelmingly favor Appellants.         The question certified for

             interlocutory appeal should therefore be answered in the negative, and the dismissal

             of Appellants’ § 1202(b) claims should be reversed.



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             II.    THE WEIGHT OF AUTHORITY REJECTS
                    AN IDENTICALITY REQUIREMENT.

                    The authorities cited by the District Court, as it identified a “substantial

             ground for difference of opinion” on the certified question, do not support the

             imposition of an identicality requirement. Of the five authorities cited in the Order

             at *2, the majority – Beijing Meishe Network Tech. Co. v. Tiktok Inc., 2024 WL

             3522196 (N.D. Cal. 2024); Oracle Int’l Corp. v. Rimini Street Inc., 2023 WL

             4706127 (D. Nev. 2023); ADR Int’l Ltd. v. Inst. for Supply Mgmt. Inc., 667

             F.Supp.3d 411 (S.D. Tex. 2023) – reject the contention that § 1202(b) prohibits CMI

             deletion or alteration with respect to identical copies only. Real World Media LLC

             v. Daily Caller, Inc., 744 F. Supp. 3d 24 (D.D.C. 2024), not cited below, also rejects

             this conclusion.

                    Of all the authorities cited by the District Court, on both sides of the question,

             the most extensive analysis by far is set forth in ADR Int’l, drawing heavily from

             district court rulings from the Ninth Circuit. The court in that case squarely rejected

             an identicality requirement:

                    When interpreting a statute, the court “does not look at a word or a phrase in
                    isolation. The meaning of a statutory provision is often clarified by the
                    remainder of the statutory scheme . . . .” Ramos-Portillo v. Barr, 919 F.3d
                    955, 960 (5th Cir. 2019). . . . . Significantly, the definition of “copies” lacks
                    any requirement for an identical copy. See 17 U.S.C. § 101. Thus, the §
                    101 definition of “copies” “strongly supports the notion that copies include
                    more than just the original work.” Huffman [v. Activision Publishing Inc.],
                    2020 WL 8678493 [(E.D. Tex. at 2020)] at *12.

             ADR Int’l at 426-27.


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                    Neither of the contrary authorities cited by the District Court in its September

             27, 2024 Order, i.e. Kirk Kara Corp. v. Western Stone & Metal Corp., 2020 WL

             5991503 (C.D. Cal. 2020) and Anderson v. Stability AI Ltd., 744 F. Supp. 3d 956

             (C.D. Cal. 2024), offers any analysis of the statutory language whatsoever. None.

             Notably, Anderson simply cites to the District Court’s January 2024 ruling in this

             very case, and the District Court then cited Anderson in its own September 2024

             ruling that is the subject of this appeal. See Anderson at 971. In effect, the District

             Court cited itself as its own authority to substantiate the proposition that there is

             “substantial ground for disagreement” on this question.

                    Kirk Kara is no more persuasive. As ADR Int’l correctly observes:

                    Although the court in Kirk Kara held the DMCA requires identical copies, the
                    caselaw it cited does not support its holding. [Citation omitted]. The court
                    relied on Fischer [v. Forrest, 286 F. Supp. 3d 590 at 609-10, (S.D.N.Y.
                    2018)], which did not employ an identical copies requirement. To the
                    contrary, the Fischer court stated that “[i]n those cases where claims of
                    removal of CMI have been held viable, the underlying work has
                    been substantially or entirely reproduced.” Fischer, 286 F. Supp. 3d at
                    609 (emphasis added). Likewise, the Kirk Kara court cited two other cases,
                    but neither mentioned nor employed an identical copies requirement. See Kirk
                    Kara, 2020 WL 5991503, at *6 (citing Kelly v. Arriba Soft Corp., 77 F. Supp.
                    2d 1116, 1122 (C.D. Cal. 1999) (cleaned up), and Frost-Tsuji Architects v.
                    Highway Inn, Inc., No. 13-00496, 2015 WL 263556, at *2 (D. Haw. Jan. 21,
                    2015) (cleaned up). Because the cases the court relied on did not stand for the
                    proposition that the DMCA only applies to identical copies, the Kirk
                    Kara decision is unpersuasive.

             ADR Int’l at 427.




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                    Amici respectfully note that Kirk Kara is no more binding on this Court than

             it was on the Texas district court that decided ADR Int’l. And given Kirk Kara’s lack

             of statutory analysis and misplaced reliance on its own cited authorities, it should

             not have any persuasive effect.

                    The caselaw cited in the District Court’s January 22, 2024 order, which

             initially dismissed the § 1202(b) claims with leave to amend, 2024 WL 235217, at

             *9, is similarly unpersuasive. It consists entirely of three cases. The first, Advanta-

             STAR Automotive Research Corp. of Am. v. Search Optics, LLC, 672 F.Supp.3d

             1035, 1057 (S.D. Cal. 2023), cites only Kirk Kara and O’Neal v. Sideshow, Inc., 583

             F. Supp. 3d 1282 (C.D. Cal. 2022) – and O’Neal only cites Kirk Kara, id. at 1287.

             The second case was Kirk Kara. The final case relied on below, Frost-Tsuji

             Architects v. Highway Inn, Inc., No. 13-00496, 2015 WL 263556, at *2 (D. Haw.

             Jan. 21, 2015), aff’d, 700 F. App’x 674 (9th Cir. 2017)), did not impose an

             identicality requirement. See ADR Int’l, supra at 427.

                    In short, the “substantial grounds for disagreement” on the question of an

             identicality requirement under § 1202(b) do not involve two equally sound positions.

             On the Appellants’ side are the plain language of the statute, an unbroken line of

             Supreme Court authority forbidding courts from adding to or “improving” the

             statutory text, and the underlying policy of protecting copyright owners’ works in

             the digital environment. On the Defendants-Appellees’ side are a complete lack of



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             statutory analysis and a small handful of cases that reference each other and Kirk

             Kara, the latter of which purports to derive an identicality requirement from three

             cases that do not impose such a requirement, i.e. Fischer v. Forrest, Kelly v. Arriba

             Soft, and Frost-Tsuji v. Highway Inn.

                    For these reasons, leading scholars who have examined this issue have

             rejected Defendants-Appellees’ interpretation:

                    The “identicality rule” offers a particularly egregious judicial gloss on
                    § 1202(b). There is no statutory basis for the rule (applied in California
                    federal district courts but not in other circuits) which so obviously
                    circumvents § 1202(b). . . . Now that the 9th Circuit has agreed to hear an
                    interlocutory appeal on the application of the “identicality” rule, one may hope
                    that the rule’s doctrinal and consequential flaws lead to its rejection, lest
                    § 1202(b) be rendered completely ineffective.

             Jane C. Ginsburg, Humanist Copyright, 2025 Melville B. Nimmer Memorial

             Lecture, Ziffrin Institute, UCLA Law School (February 13, 2025).

                    In support, Prof. Ginsburg quoted Real World Media LLC v. Daily Caller,

             Inc., 744 F. Supp. 3d 24, 40 (D.D.C. 2024), in which the District of Columbia federal

             district court recently followed the Nimmer treatise to find that “it would be odd if

             a defendant could evade DMCA liability by removing or altering CMI in a copied

             work but only disseminating 99% rather than 100% of that work.” The Nimmer

             treatise itself demonstrated the absurdity of the identicality requirement with an even

             more pointed example: “If plaintiff owns the copyright to a 300-page book and

             defendant propounds a work in which a single sentence is missing from that work,



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             the two are not identical—but are still beyond doubt substantially similar. The

             authority supposedly requiring identity fails to withstand scrutiny.” See Nimmer §

             12A.10 (emphasis original)(internal citations omitted).

              III.    CONCLUSION

                     For the foregoing reasons, and the reasons set forth in Appellants’

             Memorandum of Law, the certified question should be answered in the negative and

             the dismissal of Appellants’ claims under § 1202(b) should be reversed.


              Dated: April 16, 2025
                                                Respectfully submitted,

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                                                Counsel for Amici Curiae




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                                  UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

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                                                 APPENDIX
                            IDENTITY AND INTEREST OF AMICI CURIAE

                    Founded in 1912, Amicus The Authors Guild, Inc. (the “Guild”) is a national

             non-profit association of over 16,000 professional, published writers of all genres

             including periodicals and other composite works. The Guild works to promote the

             rights and professional interests of authors in various areas, including copyright,

             freedom of expression, and fair pay. Many Guild members earn their livelihoods

             through their writing. Their work covers important issues in history, biography,

             science, politics, medicine, business, and other areas; they are frequent contributors

             to the most influential and well-respected publications in every field. The Guild’s

             members are the creators on the front line, fighting for their constitutional rights

             under copyright to reap financial benefits from their labors.

                    Amicus The Association of American Publishers (“AAP”) represents book,

             journal, and education publishers in the United States on matters of law and policy,

             including major commercial houses, small and independent houses, and university

             presses and other noncommercial scholarly publishers. AAP seeks to promote an

             effective and enforceable framework that enables publishers to create and

             disseminate a wide array of original works of authorship to the public on behalf of

             their authors and in furtherance of informed speech and public progress.




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                    Amicus The News/Media Alliance, is the voice of the news and magazine

             industries, representing over 2,200 diverse publishers in the United States—from the

             largest groups and international outlets to hyperlocal sources, from digital-only and

             digital-first to print. Its members are trusted and respected providers of quality

             journalism.

                    Amicus The International Association of Scientific, Technical & Medical

             Publishers (“STM”) advances trusted research for the benefit of society by fostering

             collaboration and innovation among its members and the wider scholarly

             community. STM represents 147 member publishers in 17 countries, who publish

             approximately sixty percent (60%) of all English-language scientific, technical and

             medical papers.




                                                    Add.2
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